Case 20-01021-BFK            Doc 32 Filed 07/02/20 Entered 07/03/20 00:29:08                  Desc Imaged
                                  Certificate of Notice Page 1 of 2
                                     United States Bankruptcy Court
                                           Eastern District of Virginia
                                               Alexandria Division
                                           200 South Washington Street
                                              Alexandria, VA 22314

                                                            Case Number 20−10729−BFK
                                                            Chapter 13
                                                            Adversary Proceeding Number 20−01021−BFK
In re: Michelle Hamilton Davy                               Judge Brian F. Kenney

Michelle Hamilton Davy

                                             Plaintiff(s)

V.

Raphael A Davy Jr et al.

                                           Defendant(s)




                                             NOTICE OF HEARING

A

30 − Motion to Appoint Counsel as Attorney filed by Michelle Hamilton Davy. (Huntington, Dayna)

 has been filed with the court.

Notice is hereby given that a hearing to consider and act upon said matter will be held at:

Date: July 14, 2020                Time: 09:30 AM

Location:

Judge Kenney's Courtroom, U.S. Bankruptcy Court, 2nd Floor, 200 S. Washington St., Ctrm I, Alexandria, VA
22314




Dated: June 30, 2020                                        For the Court,

                                                            William C. Redden, Clerk
[VAN022BKAPvDec2009.jsp]                                    United States Bankruptcy Court
        Case 20-01021-BFK              Doc 32 Filed 07/02/20 Entered 07/03/20 00:29:08                               Desc Imaged
                                            Certificate of Notice Page 2 of 2
                                               United States Bankruptcy Court
                                               Eastern District of Virginia
Davy,
              Plaintiff                                                                           Adv. Proc. No. 20-01021-BFK
Davy, Jr,
              Defendant
                                                 CERTIFICATE OF NOTICE
District/off: 0422-9                  User: chandlerk                    Page 1 of 1                          Date Rcvd: Jun 30, 2020
                                      Form ID: VAN022                    Total Noticed: 3


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jul 02, 2020.
dft            +Betsy Devos,   U.S. Department Of Education,   400 Maryland Ave SW,   Washington, DC 20202-0008
dft            +Raphael A Davy, Jr,   PO Box 2943,   Peachtree City, GA 30269-0943

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
pla             E-mail/Text: Michelle.dee@mail.com Jul 01 2020 06:47:36     Michelle Hamilton Davy,
                 3160 Campbell Drive,   Fairfax, VA 22031
                                                                                            TOTAL: 1

              ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jul 02, 2020                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on June 30, 2020 at the address(es) listed below:
              Robert K. Coulter   on behalf of Creditor   United States of America robert.coulter@usdoj.gov,
               USAVAE.ALX.ECF.BANK@usdoj.gov;CaseView.ECF@usdoj.gov
                                                                                            TOTAL: 1
